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 5
 6                           UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF ARIZONA
 8   Mi Familia Vota, et al.,                    Case No. CV 22-00509-PHX-SRB
 9                      Plaintiffs,              ORDER
10          v.
11   Katie Hobbs, in her official capacity as
     Arizona Secretary of State, et al.,
12
                        Defendants.
13
     Living United for Change in Arizona, et
14   al.,
15                      Plaintiffs,
16          v.
17   Katie Hobbs,
18                      Defendant,
                        and
19
     State of Arizona, et al.,
20
                        Intervenor-Defendants.
21
     Poder Latinx,
22
                        Plaintiff,
23
            v.
24
     Katie Hobbs, et al.,
25
                        Defendants.
26
27
28
28
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 1    United States of America,
 2                       Plaintiff,
 3           v.
 4    State of Arizona, et al.,
 5                       Defendants.
 6    Democratic National Committee, et al.
 7                       Plaintiffs,
 8           v.
 9    Katie Hobbs, in her official capacity as
      Arizona Secretary of State, et al.,
10
                         Defendants,
11
                         and
12
      Republican National Committee,
13
                         Intervenor-Defendant.
14
15
            The Court has considered the State’s Motion for a Procedural Order Regarding
16
     Consolidated Briefing (Doc. 85) and the Joint Motion for a Procedural Order Regarding
17
     Briefing (Doc. 84) and MFV Plaintiffs’ Opposition to the State’s Motion for a
18
     Procedural Order Regarding Consolidated Briefing (Doc. 95), LUCHA Plaintiffs’
19
     Response to State’s Motion for a Procedural Order Regarding Consolidated Briefing
20 (Doc. 96), Plaintiff Poder Latinx’s Opposition to the State’s Motion for a Procedural
21 Order Regarding Consolidated Briefing, and DNC-ADP Opposition to State’s Motion
22 for Consolidated Briefing (Doc. 99).
23          The parties agree to the following deadlines for filing various pleadings which the
24 Court now orders:
25
26      Filing                                                       Deadline

27      Deadline for Plaintiff Poder Latinx to Amend Complaint       September 6, 2022

28      Answer or Motion to Dismiss                                  September 16, 2022

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 1      Response to any Motion to Dismiss                           October 17, 2022
 2      Reply in support of any Motion to Dismiss                   November 16, 2022
 3
 4         The parties have also agreed to certain page limitations in the event the Court
 5 does not order consolidated briefing as requested in the State’s Motion for a Procedural
 6 Order Regarding Consolidated Briefing. Having considered the oppositions to that
 7 motion, the Court will not order consolidated briefing but will restrict the number of
     pages allowed in the various Plaintiffs’ responses to the State’s Consolidated Motion to
 8
     Dismiss and also will modify the agreed upon pages limitations requested in the Joint
 9
     Motion for a Procedural Order Regarding Briefing.
10
           IT IS ORDERED that State Defendants may file a consolidated Motion to
11
     Dismiss that does not exceed 30 pages in length.
12
           IT IS FURTHER ORDERED that, if all Plaintiffs except the United States agree
13
     to file a consolidated Response to the State Defendants’ Motion to Dismiss, the
14 consolidated Response shall not exceed 30 pages in length.
15        IT IS FURTHER ORDERED that, if there is not one consolidated Response, the
16 Plaintiffs in each case may file a Response not to exceed 10 pages in length.
17         IT IS FURTHER ORDERED that the United States may file a Response to the
18 State Defendants’ Motion to Dismiss not to exceed 20 pages in length.
19         IT IS FURTHER ORDERED that the State Defendants’ Reply Briefs to all

20 Responses (including their Reply to the United States’ Response Brief) shall not exceed
21 30 pages in length whether filed as one consolidated Reply or as separate Replies to the
     Responses.
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           Dated this 2nd day of September, 2022.
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